Case 1:25-cv-00339-JDB   Document 80-8   Filed 04/18/25   Page 1 of 3




                EXHIBIT 6
Case 1:25-cv-00339-JDB   Document 80-8   Filed 04/18/25   Page 2 of 3
                Case 1:25-cv-00339-JDB           Document 80-8         Filed 04/18/25      Page 3 of 3
13682             Federal Register / Vol. 90, No. 56 / Tuesday, March 25, 2025 / Presidential Documents

                                      serve as a barrier to the inter- or intra-agency sharing of unclassified informa-
                                      tion as specified in this order.
                                        (f) Agency Heads shall conduct a review of classified information policies
                                      to determine whether they result in the classification of materials beyond
                                      what is necessary to protect critical national security interests and, within
                                      45 days of the date of this order, submit a report to the Office of Management
                                      and Budget cataloguing those classified information policies and recom-
                                      mending whether any should be eliminated or modified to achieve the
                                      goals set forth in this order.
                                      Sec. 4. General Provisions. (a) Nothing in this order shall be construed
                                      to impair or otherwise affect:
                                        (i) the authority granted by law to an executive department or agency,
                                        or the head thereof; or
                                        (ii) the functions of the Director of the Office of Management and Budget
                                        relating to budgetary, administrative, or legislative proposals.
                                        (b) This order shall be implemented consistent with applicable law and
                                      subject to the availability of appropriations.
                                        (c) This order is not intended to, and does not, create any right or benefit,
                                      substantive or procedural, enforceable at law or in equity by any party
                                      against the United States, its departments, agencies, or entities, its officers,
                                      employees, or agents, or any other person.




                                      THE WHITE HOUSE,
                                      Washington, March 20, 2025.


[FR Doc. 2025–05214
Filed 3–24–25; 8:45 am]
Billing code 3395–F4–P
